       Case 1:14-cr-00068-LGS           Document 401          Filed 02/07/23     Page 1 of 3




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------                      X
                                                          :
UNITED STATES OF AMERICA                                  :
                                                          :    FINAL ORDER OF
                 -v.-                                     :    FORFEITURE
                                                          :
ROSS WILLIAM ULBRICHT,                                    :    S1 14 Cr. 68 (LGS)
     a/k/a “Dead Pirate Roberts,”                         :
     a/k/a “DPR,”                                         :
     a/k/a “Silk Road,”                                   :
                                                          :
                        Defendant.                        :
                                                          :
------------------------------------                      X

               WHEREAS, on or about December 5, 2022, this Court entered an Amended

Preliminary Order of Forfeiture as to Specific Property (D.E. 395) (the “Preliminary Order of

Forfeiture”), which ordered the forfeiture to the United States of all right, title, and interest of

ROSS WILLIAM ULBRICHT, a/k/a “Dread Pirate Roberts,” a/k/a “DPR,” a/k/a “Silk Road,” (the

“Defendant”) in the following property:

           a) 50,491.06251844 BTC that the Government seized from Individual-1’s residence
              on or about November 9, 2021;
           b) 825.38833159 BTC that the Government seized from Individual-1 on or about
              March 25, 2022; and
           c) 35.4470080 BTC that the Government seized from Individual-1 on or about May
              25, 2022;

(a. through c., collectively, the “Specific Property”);

               WHEREAS, the Preliminary Order of Forfeiture directed the United States to

publish, for at least thirty (30) consecutive days, notice of the Preliminary Order of Forfeiture,

notice of the United States= intent to dispose of the Specific Property, and the requirement that any

person asserting a legal interest in the Specific Property must file a petition with the Court in

accordance with the requirements of Title 21, United States Code, Sections 853(n)(2) and (3).

Pursuant to Section 853(n), the United States could, to the extent practicable, provide direct written
         Case
          Case1:14-cr-00068-LGS
               1:14-cr-00068-LGS Document
                                 Document 399-1
                                          401 Filed
                                                Filed 02/07/23
                                                      02/06/23 Page
                                                                Page22ofof33




notice to any person known to have an alleged interest in the Specific Property and as a substitute

for published notice as to those persons so notified;

               WHEREAS, the provisions of Title 21, United State Code, Section 853(n)(1), Rule

32.2(b)(6) of the Federal Rules of Criminal Procedure, and Rules G(4)(a)(iv)(C) and G(5)(a)(ii) of

the Supplemental Rules for Admiralty or Maritime Claims and Asset Forfeiture Actions, require

publication of a notice of forfeiture and of the Government’s intent to dispose of the Specific

Property before the United States can have clear title to the Specific Property;

               WHEREAS, the Notice of Forfeiture and the intent of the United States to dispose

of the Specific Property was posted on an official government internet site (www.forfeiture.gov)

beginning on December 6, 2022, for thirty (30) consecutive days, through January 4, 2023,

pursuant to Rule G(4)(a)(iv)(C) of the Supplemental Rules for Admiralty and Maritime Claims

and Asset Forfeiture Actions and proof of such publication was filed with the Clerk of the Court

on February 1, 2023 (D.E. 398);

               WHEREAS, thirty (30) days have expired since final publication of the Notice of

Forfeiture and no petitions or claims to contest the forfeiture of the Specific Property have been

filed;

               WHEREAS, the Defendant is the only person and/or entity known by the

government to have a potential interest the Specific Property; and

               WHEREAS, pursuant to Title 21, United States Code, Section 853(n)(7), the

United States shall have clear title to any forfeited property if no petitions for a hearing to contest

the forfeiture have been filed within thirty (30) days of final publication of notice of forfeiture as

set forth in Title 21, United States Code, Section 853(n)(2).



                                                  2
       Case 1:14-cr-00068-LGS           Document 401         Filed 02/07/23      Page 3 of 3




               NOW, THEREFORE, IT IS ORDERED, ADJUDGED AND DECREED THAT:

               1.       All right, title, and interest in the Specific Property is hereby forfeited and

vested in the United States of America, and shall be disposed of according to law.

               2.       Pursuant to Title 21, United States Code, Section 853(n)(7) the United

States of America shall and is hereby deemed to have clear title to the Specific Property.

               3.       The United States (or its designee) shall take possession of the Specific

Property and dispose of the same according to law, in accordance with Title 21, United States

Code, Section 853(h).

               The Clerk of the Court is directed to terminate the letter motion at docket number 399.

Dated: New York, New York
       February 7, 2023

                                                       SO ORDERED:




                                                  3
